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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )    Case No. 19-34054 (SGJ)
                      Reorganized Debtor.                              )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )    Adv. Pro. No. 21-03004 (SGJ)
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )
ADVISORS, L.P.,                                                        )
                                                                       )
                              Defendant.                               )
                                                                       )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On January 6, 2022, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:

      •   Reorganized Debtor's Witness and Exhibit List with Respect to Evidentiary Hearing
          to be Held on January 10, 2022 [Docket No. 111]

Dated: January 11, 2022
                                                          /s/ Hannah Bussey
                                                          Hannah Bussey
                                                          KCC
                                                          Meidinger Tower
                                                          462 South 4th Street
                                                          Louisville, KY 40202

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                              EXHIBIT A
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                                                                    Exhibit A
                                                              Adversary Service List
                                                             Served via Electronic Mail


                Description                          CreditorName            CreditorNoticeName                            Email
 Financial Advisor to Official Committee of                             Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
 Unsecured Creditors                          FTI Consulting            O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                                        Melissa S. Hayward, Zachery       MHayward@HaywardFirm.com;
 Counsel for the Debtor                       Hayward & Associates PLLC Z. Annable                        ZAnnable@HaywardFirm.com
                                                                                                          ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment Trust                                   Douglas S. Draper, Leslie A.  lcollins@hellerdraper.com;
 and Get Good Trust                           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy     gbrouphy@hellerdraper.com
                                                                                                          andrew.clubok@lw.com;
 Counsel for UBS Securities LLC and UBS                                     Andrew Clubok, Sarah          sarah.tomkowiak@lw.com;
 AG London Branch                             Latham & Watkins LLP          Tomkowiak, Jason Burt         jason.burt@lw.com
 Counsel for UBS Securities LLC and UBS                                     Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
 AG London Branch                             Latham & Watkins LLP          George                        Kathryn.George@lw.com
 Counsel for UBS Securities LLC and UBS                                     Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
 AG London Branch                             Latham & Watkins LLP          Posin                         kim.posin@lw.com
 Counsel for UBS Securities LLC and UBS                                                                   Zachary.Proulx@lw.com;
 AG London Branch                             Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
 Counsel for Highland Capital Management
 Fund Advisors, L.P., NexPoint Advisors,
 L.P., Highland Income Fund, NexPoint
 Strategic Opportunities Fund and NexPoint Munsch Hardt Kopf & Harr,       Davor Rukavina, Esq., Julian drukavina@munsch.com;
 Capital Inc.                              P.C.                            P. Vasek, Esq.               jvasek@munsch.com
 Counsel for Frank Waterhouse              Ross & Smith, PC,               Frances Smith                frances.smith@judithwross.com
                                                                                                        mclemente@sidley.com;
                                                                           Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
 Counsel for Official Committee of                                         Russell, Elliot A. Bromagen, ebromagen@sidley.com;
 Unsecured Creditors                          Sidley Austin LLP            Dennis M. Twomey             dtwomey@sidley.com
                                                                                                        preid@sidley.com;
                                                                           Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                         Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                          Sidley Austin LLP            Chandler M. Rognes           crognes@sidley.com




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